Case 3:13-cr-00082   Document 109   Filed 02/13/14   Page 1 of 12 PageID #: 267
Case 3:13-cr-00082   Document 109   Filed 02/13/14   Page 2 of 12 PageID #: 268
Case 3:13-cr-00082   Document 109   Filed 02/13/14   Page 3 of 12 PageID #: 269
Case 3:13-cr-00082   Document 109   Filed 02/13/14   Page 4 of 12 PageID #: 270
Case 3:13-cr-00082   Document 109   Filed 02/13/14   Page 5 of 12 PageID #: 271
Case 3:13-cr-00082   Document 109   Filed 02/13/14   Page 6 of 12 PageID #: 272
Case 3:13-cr-00082   Document 109   Filed 02/13/14   Page 7 of 12 PageID #: 273
Case 3:13-cr-00082   Document 109   Filed 02/13/14   Page 8 of 12 PageID #: 274
Case 3:13-cr-00082   Document 109   Filed 02/13/14   Page 9 of 12 PageID #: 275
Case 3:13-cr-00082   Document 109   Filed 02/13/14   Page 10 of 12 PageID #: 276
Case 3:13-cr-00082   Document 109   Filed 02/13/14   Page 11 of 12 PageID #: 277
Case 3:13-cr-00082   Document 109   Filed 02/13/14   Page 12 of 12 PageID #: 278
